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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

                                                       )
McHenry County and Kankakee Co
                                           ,           )
                               Plaintiff(s),           )
                                                       )       Case No. 21-CV-50341
v.                                                     )       Magistrate Judge /LVD$-HQVHQ
                                                       )
                                                       )
Kwame Raoul
                                           ,           )
                               Defendant(s).           )

                              JOINT INITIAL STATUS REPORT

       The parties submit this joint initial status report in advance of the initial status hearing set
for    Not set at this time .

         All parties who have appeared shall join in the filing of this initial status report. An
initial status report must still be filed even if filed unilaterally.

1.      Nature of the Case Including Legal Issues, Factual Issues, and Affirmative Defenses.

For claims by or against only some parties, identify which.
McHenry County and Kankakee County ("Plaintiffs") filed this lawsuit against the Illinois
Attorney General Kwame Raoul challenging the constitutionality of sections 15 and 30
(b) of the Illinois Way Forward Act (805 ILCS 5/15(g)(1), (2), (30)(b)) ("Act"). The
Plaintiffs' Complaint (Dkt. 7) asserts two legal claims: federal intergovernmental
immunity and preemption. Plaintiffs have filed a motion for preliminary injunction (Dkt 9,
10) to enjoin enforcment of Section 15(g) of the Way Forward Act while the underlying
claim is being litigated. The Defendant moved to dismiss the Complaint for failure to
state a claim upon which relief can be granted, arguing that the intergovernmental
immunity doctrine is inapplicable and the Act is not preempted by federal law.


2.      Parties and Service

Identify each individual plaintiff:

McHenry County

Kankakee County
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Identify each individual defendant and the status of service. If more space is needed, attach
additional pages to the end of this report.

                                             Date           Date            Answer Due or
Defendant                                    Served         Appeared        Date Answered
Illinois Attorney General K. Raoul            9/20/2021      10/6/2021      10/18/2021




For each defendant not served, describe the efforts to serve that defendant. If more space is
needed, attach additional pages to the end of this report.

Defendant                                    Efforts to Serve




List any potential party the defendant(s) may seek to add as a third-party defendant.

Third-Party Defendant                        Basis of Liability




3.     Status of Settlement Discussions and the Potential for Settlement

Because of the constitutional questions raised in the Complaint, the parties believe that
settlement is not likely. To date, the parties have not had any settlement discussions.




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4.    Identify any Parallel Cases (including but not limited to possible MDL litigation,
underlying criminal proceedings, or related litigation).

Case Name                     Case #          Court          Nature of Proceeding




5.     Identify all Pending or Anticipated Motions

Motion (including docket number                                             Date Filed or
if already filed)                                                           Anticipated
Dkts. 9, 10 Plaintiffs' Motion/Memo for a Preliminary Injunction                9/30/21

Dkts. 23, 24 Defendant's Motion/Memo to Dismiss                                 10/18/21

Dkt. 22 Defendant's Motion to Strike References to 30(b)                        10/18/21

6.     Discovery

During the initial status hearing the Court will likely set a deadline for submitting a proposed
case management order at a later date. To help guide that discussion, the parties shall provide
their best estimates formed after reasonable investigation and inquiry of the amount and scope of
discovery in response to the following questions:
                                            10 depositions of fact witnesses.
The plaintiff(s) anticipate(s) taking about 

For claims involving medical conditions, the plaintiff has about  treaters who are either
(check one) all located in or near the Rockford/Chicago areas, or includeV treaters located
outside the Rockford and Chicago areas such as                                                 .

The plaintiff(s) (check one) anticipate(s) using about       retained expert witnesses,
or do(es) not anticipate retaining expert witnesses.
                                              10 depositions of fact witnesses. That number does
The defendant(s) anticipate(s) taking about 
not include any of the depositions the plaintiff(s) anticipate(s).

The defendant(s) (check one) anticipate(s) using about  retained expert witnesses,
or Go(es) not anticipate retaining expert witnesses.

The parties anticipate that fact discovery (which includes treating physician depositions)
                 8 months.
will take about 



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7.        Consent to the Magistrate Judge

(Must check one)

                       All parties have appeared and will file a written consent to proceed before
                       the Magistrate Judge for all purposes.

                       Not all parties will consent to proceed before the Magistrate Judge.



PLAINTIFF(S)                                     DEFENDANT(S)
McHenry and Kankakee Counties                     Illinois Attorney General Kwame Raoul




By:                                              By:
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